     Case 8:20-cv-00048-JVS-JDE Document 1259 Filed 02/01/23 Page 1 of 4 Page ID
                                     #:129030



1      Joseph R. Re (Bar No. 134479)
       joseph.re@knobbe.com
2      Stephen C. Jensen (Bar No. 149894)
       steve.jensen@knobbe.com
3      Benjamin A. Katzenellenbogen (Bar No. 208527)
       ben.katzenellenbogen@knobbe.com
4      Perry D. Oldham (Bar No. 216016)
       perry.oldham@knobbe.com
5      Stephen W. Larson (Bar No. 240844)
       stephen.larson@knobbe.com
6      Justin J. Gillett (Bar No. 298150)
       Justin.Gillett@knobbe.com
7      KNOBBE, MARTENS, OLSON & BEAR, LLP
       2040 Main Street, Fourteenth Floor
8      Irvine, CA 92614
       Telephone: (949) 760-0404; Facsimile: (949) 760-9502
9
       Adam B. Powell (Bar. No. 272725)
10     adam.powell@knobbe.com
       Daniel P. Hughes (Bar No. 299695)
11     Daniel.hughes@knobbe.com
       KNOBBE, MARTENS, OLSON & BEAR, LLP
12     3579 Valley Centre Drive
       San Diego, CA 92130
13     Telephone: (858) 707-4000; Facsimile: (858) 707-4001
14     [Counsel appearance continues on next page]
15     Attorneys for Plaintiffs,
       MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
16
17                     IN THE UNITED STATES DISTRICT COURT
18                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
19                                 SOUTHERN DIVISION
20      MASIMO CORPORATION,                  ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and
21      CERCACOR LABORATORIES, INC., )
        a Delaware corporation               ) SUPPLEMENTAL DECLARATION
22                                           ) OF KENDALL M. LOEBBAKA IN
                    Plaintiffs,              ) RESPONSE TO THE
23
              v.                             ) SUPPLEMENTAL DECLARATION
24                                           ) OF NORA PASSAMANECK
        APPLE INC., a California corporation )
25
                                             ) Date: Feb. 6, 2023
26                  Defendant.               ) Time:   1:30 pm
                                                Place: Courtroom 10C
27                                           )
                                             )
28
     Case 8:20-cv-00048-JVS-JDE Document 1259 Filed 02/01/23 Page 2 of 4 Page ID
                                     #:129031



1      Mark D. Kachner (Bar No. 234,192)
       mark.kachner@knobbe.com
2      KNOBBE, MARTENS, OLSON & BEAR, LLP
       1925 Century Park East, Suite 600
3      Los Angeles, CA 90067
       Telephone: (310) 551-3450
4      Facsimile: (310) 551-3458
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case 8:20-cv-00048-JVS-JDE Document 1259 Filed 02/01/23 Page 3 of 4 Page ID
                                     #:129032



1           I, Kendall M. Loebbaka, hereby declare:
2            1.     I am a partner in the law firm of Knobbe, Martens, Olson & Bear, LLP,
3      and Counsel for Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc.
4      (collectively, “Masimo”) in this action. I have personal knowledge of the matters set
5      forth in this Declaration and, if called upon as a witness, would testify competently
6      thereto. I submit this Declaration in support of Masimo’s Opposition to Apple’s Motion
7      to Strike Untimely Fact and Expert Declarations Supporting Plaintiffs’ Motion for
8      Partial Summary Judgment and in response to the Supplemental Declaration of Nora
9      Passamaneck in Support of Apple’s Reply in Support of Apple’s Motion to Strike
10     Untimely Fact and Expert Declarations Supporting Plaintiffs’ Motion for Partial
11     Summary Judgment (“Suppl. Passamaneck Decl.”).
12           2.    On January 31, 2023, Apple submitted to the Court the transcript of the
13     January 24, 2023, deposition of Jeroen Poeze in this case. See Dkt. 1255, Suppl.
14     Passamaneck Decl., Exhibit 14 (Dkt. 1254-1).
15           3.    The January 24, 2023, Poeze deposition transcript is not the complete
16     record of deposition testimony from Poeze that is available for use in this case. As
17     explained in Exhibits N and O attached hereto, the parties agreed that the deposition
18     transcripts from Certain Light-Based Physiological Measurement Devices and
19     Components Thereof, ITC Inv. No. 337-TA-1276 (“ITC Investigation”) are also
20     available for any purpose in this case.
21           4.    To complete the record submitted by Apple, Masimo respectfully requests
22     that the Court also take notice of the February 10, 2022, deposition of Poeze that Apple
23     took in the ITC Investigation, which is attached hereto as Exhibit P. For a more
24     complete record, Masimo respectfully requests the Court to consider the following
25     citations to that deposition transcript: 13:19-14:19, 16:19-23; 22:24-24:4, 70:11-71:15,
26     and 76:18-79:3.
27
28

                                                 -1-
     Case 8:20-cv-00048-JVS-JDE Document 1259 Filed 02/01/23 Page 4 of 4 Page ID
                                     #:129033



1                 5.    Attached hereto as Exhibit N is a true and correct copy of a letter from
2       Mark Kachner, counsel for Masimo, to Mark Selwyn and Ilissa Samplin, counsel for
3       Apple, dated May 26, 2022.
4                 6.    Attached hereto as Exhibit O is a true and correct copy of an email chain
5       culminating in an email from Mark Kachner to Nora Passamaneck, counsel for Apple,
6       dated June 13, 2022.
7                 7.    Attached hereto as Exhibit P [filed under seal] is a true and correct copy
8       of the transcript of the deposition of Jeroen Poeze, dated February 10, 2022, taken by
9       counsel for Apple in the ITC Investigation.
10                I declare under penalty of perjury under the laws of the United States that the
11     foregoing is true and correct.
12                Executed on February 1, 2023, at Irvine, California.
13
14                                                 /s/ Kendall M. Loebbaka
                                                        Kendall M. Loebbaka
15     56931475


16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     -2-
